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  IT IS ORDERED as set forth below:



  Date: April 12, 2019
                                                     _____________________________________
                                                                   Paul Baisier
                                                           U.S. Bankruptcy Court Judge

 _______________________________________________________________




                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE:                                        )          CHAPTER 13
                                              )
CHARLES MCALEER WILDES, JR.,                  )          CASE NO. 16-71229-PMB
                                              )
       DEBTOR.                                )

                     ORDER DENYING MOTION TO DISMISS

       On November 5, 2018, the Chapter 13 Trustee filed a Motion to Dismiss (Doc.
No. 40), which came on for hearing April 11, 2019 upon notice to Debtor and Debtor’s
attorney. At the call of the Court’s calendar, the agreement to a payment arrangement
with strict compliance was announced. Accordingly, it is hereby
       ORDERED that, commencing with the next plan payment due following the entry
date of this order and continuing with strict compliance on each plan payment due date
thereafter, for twelve months, the Debtor shall timely remit the regular Chapter 13
payments (as set forth in the confirmed plan) to the Chapter 13 Trustee. It is further
       ORDERED that, should Debtor fail to make timely any plan payment that is
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subject to strict compliance, the Trustee may submit a Supplemental Report
recommending dismissal, and, upon receipt of such a report, the Clerk of Court is hereby
authorized and directed to enter an Order of Dismissal without additional notice or
hearing.
      The Clerk, U.S. Bankruptcy Court, is directed to serve a copy of this order upon
Debtor, Debtor’s attorney, and the Chapter 13 Trustee.
                                END OF DOCUMENT



Prepared and Presented by:

___________/s/___________
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